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                  IN THE UNITED STATES DISTRJCT COURT U.S. OISTH\�T COU         RT
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                 FOR THE SOUTHERN DISTRJCT OF GEORGIA     AUGU�l
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IN RE: COVID-19 PUBLIC HEALTH & SAFE1Y
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                                                                                SO. 0\:J 1. Jr l.iM.
                           STANDING ORDER MC 121-016


      WHEREAS, on March 13, 2020, a national emergency was declared under the
National Emergencies Act, 50 U.S.C. Section 1601, et. seq., in response to the COVID-19
pandemic;

       WHEREAS, on March 17, 2020, the Court entered a standing order governing
court operations in light of the pandemic and declaration of national emergency (MC-
120-04);

        WHEREAS, on May 13, 2021, the Centers for Disease Control and Prevention
(CDC) issued Interim Public Health Recommendations for Fully Vaccinated People that
provide that those who have been fully vaccinated for COVID-19 can resume activities
vvi.thout wearing masks or physically distancing, except where required by federal, state,
local, tribal or territorial laws, rules and regulations, including local business and
workplace guidance; and

      WHEREAS, the Court now determines that the restrictions on Court operations
and entry to District courthouses imposed by MC120-004 should be revised to follow the
new CDC guidelines.

      Accordingly, the Court hereby ORDERS:

      1. Courthouse Access. Effective immediately:

           a. Face Masks or Coverings. Persons who have been "fully vaccinated" as
              defined by CDC guidelines shall not be required to wear a face mask or
              covering in order to enter a District courthouse. Nothing in this Order shall
              prevent any individual from wearing a face mask or covering, regardless of
              their vaccination status. This face mask or covering requirement shal1 only
              apply in the public areas of each courthouse.

           b. Entry Restrictions. The following persons shal1 not enter a District
              courthouse:
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     1.     Persons who have been diagnosed with COVID-19 within the
            previous 14 days.
     11.    Persons who have been asked to self-quarantine by any doctor or
            other health care worker, hospital, or health agency within the
            previous 14 days.
     m.     Fully vaccinated persons who have been exposed to COVID-19 and
            are experiencing any symptoms of COVID-19.
     IV.    Unvaccinated persons who have been exposed to COVID-19 within
            the previous 14 days; or
     V.     Persons with any symptom of COVID-19 identified by CDC,
            including fever (100.4 degrees or higher), chills, cough, shortness of
            breath, new loss of taste or smell, nausea, vomiting or diarrhea.

  c. Denial of Entry or Removal. The United States Marshal, his deputies
     and court security officers shall deny entry to anyone attempting to enter in
     violation of this Order and shall have the authority to remove anyone from
     a courthouse for failure to abide by this Order. Anyone denied entry or
     removed due to these restrictions will be provided with contact information
     to contact the relevant Court or other agency with whom they have business.

  d. Screenings, Mandatoiy temperature screenings for persons entering a
     courthouse are no longer required. Temperature kiosks shall remain in
     place and operational for voluntary screenings. Court security personnel
     shall not question persons entering a courthouse about their vaccination
     status unless directed to do so by a presiding judge.

2. Court Proceedings Generally.

  Each presiding judge shall retain the sole discretion to require those persons
  present at a court proceeding or entering chambers to wear a face mask or
  covering, honor social distancing requirements or take additional precautions
  as may been deemed appropriate.

3. Authorization to Use Video and Telephone Conferencing for
   Criminal Proceedings Pursuant to the CARES Act.

  Nothing in this Order shall prevent hearings and other proceedings from being
  conducted remotely by video or telephone conferencing pursuant to the CARES
  Act.
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      4. Notice. The Clerk shall post a summary of this Order’s requirements
         prominently at the entrance to each courthouse and shall remove any notices
         in conflict with this Order.


   All previously entered orders concerning Court operations related to COVID-19 shall
remain in effect to the extent they are not inconsistent with the instant Order.

      ORDERED at Augusta, Georgia,this J_              day of June, 2021.




                                 J. RANDAL HALL /
                                 Chief Ur ited States District Judge
